Case 2:05-cr-20230-.]PI\/| Document 3 Filed 07/08/05 Page 1 of 2 Page|D 4

UNITED sTATEs DISTRICT COURT FH-ED BY ... D.<'~

FOR THE '
wEsTERN DISTRICT 0F TENNESSEE 05 JUL -8 PH h= 03
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CLEPK, US. D!_STF}§‘YCUBT
vNITED sTATEs oF AMERICA ) wm (H‘ MS
)
vs. ) Cr. No. 05-20230-M1
)
0D1E sMITH, )

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UENDUM

 

Katrina U. Earlev. Assistant U.S. Attongy applies to the Court for a Writ to have Odie

Smith RNI #030102 DOB 5-6-46 is now being detained in the Shelby County Jail appear before

 

the Honorable Diane K. Vescovo on 20th, July, 2005, at 2:00 g.m. for initial appearance and for such
other appearances as this Court may direct.

Respectfully submitted this m day of Jnly, 2005.

wm week

Assistant U. S. Attorney
§§§§§§0.0400§§§§§§§.§00.0.§.§§§¢¢§.00§§.......................
Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN,

YOU ARE HEREBY COMMANDED to have Odie Smith
appear before the Honorable Diane K. Vescovo at the date and time aforementioned.

s*" 1
ENTERED this day of Jul 2005.

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UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
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Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

